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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA
CASE NO. 1:18-CR-83-TSE
V.

Trial Date: July 31, 2018
PAUL J. MANAFORT, JR.,

The Honorable T. S. Ellis, II

Somme me ee

Defendant.

GOVERNMENT'S FIRST AMENDED EXHIBIT LIST

The United States of America, by and through undersigned counsel, hereby submits its

list of trial exhibits.

me Description Obj. | Ofrd | Adm.
1A | Photograph — 1046 N Edgewood Street, Arlington, VA
1B | Photograph — 29 Howard Street, New York, NY
IC | Photograph — 377 Union Street, Brooklyn, NY
YW 1D_| Photograph — 601 N Fairfax Street, Alexandria, VAW.MiKUSKG 8 /t/1€
1E | Photograph — 174 Jobs Lane, Bridgehampton, NY
Or 2A _| Immunity Order—D. Raico D.RGICO SION
/ 2B Immunity Order—J. Brennan -T Brenadn e\ ais
2C_ | Immunity Order — D. Duggan eo
2D | Immunity Order— C. O'Brien
) 2E | Immunity Order —C. Laporta (, OPORTO Sishs
f 2F | Plea Agreement —R. Gates R.GATES SIVITY BIBS
3 | 2005.10.24 Consulting Agreement HE
4 | 2009.07.01 Consulting Agreement T. DEYINE 4/31/18
5 2006.01.03 Memo P. Manafort, T. Devine, V. Yanukovych et al re
2 Messages for January Next Wave of Television and Radio Ads
¥ 6 | Devine Mulvey Longabaugh Invoices to Davis Manafort (2010, 2014) T-DENINE/4] aV/jie
¥_7

2010.02.03 Email T. Devine to P. Manafort re Election Night Speech-T. DEVINE 4/31/18

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ee Description Off'd | Adm.
/ 8 | 2010.02.15 Email T. Devine to P. Manafort et al re Job Well Done T .DENI WIS
Y 9 2010.02.16 Email T. Devine to P. Manafort re FYI -T. DENINE 413\/18
/ 10 | 2010.08.12 Memo P. Manafort to V. Yanukovych et al re another memo'T. DENINE, 4/31/}8
@yY 1 2010.09.01 Email T. Devine to P. Manafort, R. Gates et al re Talking
Points T- DEVINE + 31/18
@ Y 12 2011.09.20 Email Chain D. Rabin, J. Mulvey, P. Manafort, R. Gates, K.
Y ~__| Kilimnik, T. Devine et al re Ukraine - First Draft T- DEINE 4/2/18
13 | 2012.04.02 Email Chain T. Devine, R. Gates, P. Manafort et al re Ukraine
v. 14 | 2012.08.06 Email T. Devine to P. Manafort re Memo “T. DEVINE HA
/ 15 | 2014.03.31 Email T. Devine to R. Gates et al re Call - ImportantT. pDEVINE 3/18
Y 16 | 2014.03.31 Email T. Devine to R. Gates et al re Draft Proposal-T- Demiwe @
_17__| 2014.06.09 Email T. Devine to R. Gates et al re Kyiv
OY 18 | 2014.06.16 Email T. Devine to K. Kilimnik, R. Gates et al re Ukraine TripT} DEVINE 4/31/10
@y 19 2014.06.19 Email T. Devine to K. Kilimnik re Can u resend the talking :
points T. DEVINE FIB1/18
® Y 79 | 2010.07.12 Memo Devine Mulvey Longabaugh & Rabin Strasberg toT- DEWINEG. 7131/18
iT Davis Manafort Partners re 2010 Message Strategy and Proposal
1A 2010.06.30 Email Chain P. Manafort, T. Devine, D. Rabin, R. Gates, K.
Kilimnik et al re Local election program
21B | 2010.08.10 Email P. Manafort to T. Devine, D. Rabin re First TV spot
r1C 2010.10.04 Email Chain P. Manafort, A. Strasberg, D. Rabin, K. Kilimnik
re brochures
ID 2014.04.29 Email Chain P. Manafort, D. Rabin, K. Kilimnik, R. Gates re
~ Campaign TPs and Events
OIE 2015.09.23 Email P. Manafort to K. Kilimnik, D. Rabin, V. Stepanov, R.
on Gates re Media Buy
Y 22 | 2010.09.09 Chart re Every Level V4°T. DEVINE H3V1s8
23 | 2010.09.28 Invoice Rabin Strasberg to Davis Manafort Partners Dp, ROBIN 16/1/19
@) 24 | 2010.10.15 Invoice Rabin Strasberg to Davis Manafort Partners
95 2012.04.16 Memo D. Rabin, A. Strasberg to P. Manafort, R. Gates re
~ Ukraine Media
2% 2012.04.19 Memo D. Rabin, A. Strasberg to K. Kilimnik, P. Manafort, R.
“ Gates re Meeting Agenda
27 | 2012.04.24 Memo D. Rabin, A. Strasberg to P. Manafort re Kyiv Meetings
28 2012.05.02 Email Chain K. Kilimnik, V. Tolmach, P. Manafort, A.
~ Strasberg, T. Fabrizio, D. Rabin, R. Gates re Euro 2012 Scripts
9 2012.06.29 Memo D. Rabin, A. Strasberg to P. Manafort re New film crew
recommendations
30 | 2012.10.23 Invoice D. Rabin to DMP International D.ROBIN 8/1))%
@) 31 | 2014.04.18 Invoice D. Rabin to DMP International ]
32 | 2014.05.12 Invoice D. Rabin to DMP International Y
BY 33A_| Photograph — V. Yanukovych #1 D. RABIN S/1/18
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Description

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Photograph — V. Yanukovych #2

Photograph — V. Yanukovych #3

2017.06.27 DMP International FARA Filing M-MACnionos 8/8] 1%

2017.06.27 DMP International FARA Filing Certificate of Authenticity

2015.06.23 Peranova Loan Forgiveness Letter I. MIKUSKO 8/1/18

2016.03.08 Signed Banc of California Personal Financial Statement and
Loan Application A. MIKUSKA § /\J1

2017.01.13 First Nationwide Title Disbursement Statement M.MIKUSKQ &

AS

Genesis Capital Documents ,A. MIKUSKA 8& [\ /\%

MC Brooklyn Holdings Ledger MsMIZUSKG $1} Ng
2013.01.15 VY Agenda W.M|KUSKO, &]1/ 18

2013.04.05 Memo P. Manafort to S. Lyovochkin re PR Effort this week in
Kyiv M-MiKUSKO 8/1 LS

2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants W.MiKUSKO SANS

2013.04.25 Memo P. Manafort to S. Lyovochkin re Summary of Overdue
Accounts M.MtKUSKO 8]1/1%

2014.09 Ukraine OB Campaign Strategy Powerpoint U.MikKUSKO $11) 1S

2014.09.24 OB Daily Talking Points

2014.10.07 Memo P. Manafort to Campaign HQ re OB Campaign Leaflets

Memo re May 17 Rallies

2010.03.01 Sensoryphile Invoice for $20,000M.MiKUSKO 8 /1/1§

Big Picture Solutions Invoice M.miKUSKO 3/11

Big Picture Solutions Bill of Materials W.paiKUusKd &/1/1<

SSS
Ln
So

2011.11.08 Signed SP&C Home Improvement Renovation Proposal for

174 Jobs Lane M-MiKUSKO 8/1/18

2012.02.16 Signed SP&C Home Improvement Renovation Proposal for 29 —

Howard St M.MIKUSKO SIS

GovT. x 5Y (A) BOT nor
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35, 56, 42, 44

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2013.03.01 SP&C Proposal for 83 Whooping Hollow Road U.MiIKUSKO éTi [18]

SP&C Home Improvement Proposal for 174 Jobs Lane M-MMIKUSKO 8)

J 55° | Photographs — Clothing with Alan Couture Labels M.MIKUSKO 8/) 18; M-KOTZMAN B 1/18
/ 56. | Photographs — Clothing with House of Bijan Labels N.MIKUSKA $i AS R.WALL 8) 1/1 F
57 | Photographs — House of Bijan Watch : :
J&J Oriental Rug Gallery Documents M.MiKUSKO 8/1/18
Y 59 | 2007.02.14 P. Manafort Cyprus, Berlin, & Kiev Trip Itinerary MMi KUSkKO 8/1/18

2010.02.16 Memo P. Manafort to V. Yanukovych re Professional Team —
Bonuses M-MiKUSKO 8/1/ 1

2010.02.22 Memo P. Manafort to V. Yanukovych re Wire Transfer Details
for Personal Bonuses M.MIKUSKG 8 /1/1&

P. Manafort Contact List U.MIKUSKO 8/1/1¥

GS OH QV _ OS SSK

Memo to P. Ayliff, R. Gates et al re 2012 estimates yy. Mi KUSKO 811] 1X

2016 Season New York Yankees Account

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Description

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Ukraine Documents

Party of Regions Advance and Training

Residential Lease Agreement, Request for Tax Transcripts, Mercedes Benz
Records, and Authorization Forms

Ukrainian Strategy Memos

Foreign Entities Chart G LOPORTO BY M -MOGIONOS g/ANg

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United Kingdom Incorporation Documents

Foreign Bank Accounts MA. MaGiIONOS S| OIF

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Bank Records — United Kingdom

Chart — Aegis Holdings Payments

Seacoast Bank Records for Aegis Holdings \) .MOG} ONOS8/8]18

Chart — Alan Couture Payments M.WAGGr ONS B/BINIS

Emails Leviathan (Alan Couture) 4 Ma (Gi0N0S ale | 1%

Chart — Big Picture Solutions Payments {J MG GOW OS RSI

2011.11.22 Email - Global Highway (Big Picture) yy Ma GiONDS R [sisi

Chart — Federal Stone & Brick Payments \4 .MQ(GriONOS 8]3]\ x

Chart — House of Bijan Payments

21, | Emails Global Highway and Leviathan (House of Bijan)

Chart — J&J Oriental Rug Gallery Payments yy Ma (MOW0S. SIS NX

Chart — Land Rover of Alexandria Motors Payments {4 MQ(nONOS 313)

Wells Fargo Bank Records for Land Rover of Alexandria

Chart — Mercedes Benz of Alexandria Payments

Chart — New Leaf Landscape Payments W.MA(TI0OWNS Jefe

2011.12.05 Email - Leviathan (New Leaf)

Chart — Sabatello Construction Payments {J AQ (fiONOS B/€ pe

Anchor Bank Records for Sabatello Construction

2011.12.20 Email - Black Sea View (Sabatello)

Chart — Scott Wilson Landscaping Payments pj —w~aGioNods 818] 1
Bridgehampton National Bank Records for Scott Wilson Landscaping

2010.10.05 Email - Global Highway (Scott Wilson) Y.UQGi0n0s &]&] |S

Chart — Sensoryphile Payments A JUAGIONOS R18] 1s

2010.07.28 Email - Leviathan (Sensoryphile)

Chart — SP&C Home Improvement Payments Y.MAGIONOS &/&] 13

Emails — Yiakora, Global Highway and Leviathan (SP&C) M-MOCriONOS [# he

Cyprus Incorporation Documents M. NGGIONDS 8/6/1%

Eurobank Documents R- GOMES 8] 4+ I 1s

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Hellenic Bank Documents M.MOCHONDS 8/8/18
Bank of Cyprus Documents jy MACHONDS B18] 1B
Bank of Cyprus Documents pA. WMOCTONODS 8) 6) ID

Accounting Records R. G@TeES 8/4/1F +2 ES 8/416
Hellenic Bank Documents (\.WM0 GiONOS 8/8 )/\8 TN REGDU2I0 @/2
St. Vincent and the Grenadines Documents M.KOTZMON 8/1/18, 4.JOcoBdon g/ Ng;3- “FJ. MOXOELL
St. Vincent and the Grenadines Documents W.MG Giow 06 8/916 SIZINB

St. Vincent and the Grenadines Documents M.MQ(GiON05 8/8/18
Chart — Property Overview

Payment Flow Chart for 29 Howard St Property y\ MMA GiONDS 83] 15 |
- Payment Flow Chart for 1046 N Edgewood St Property

Payment Flow Chart for 377 Union St Property a
First Republic Bank Accounts XXXXXXX6573 and XXXXXXX7373 for
Jesand

First Republic Bank/Pershing Account XXXXXXX5358 for J. Manafort
First Republic Bank Account XXXXXXX6524 for DMP International W.WiKUSKO 811/18
First Republic Bank Account XXXXXXX9730 for P. and K. Manafort :
First Republic Bank Account XXXXXXX5868 for MC Soho

TD Bank Trust Account XXXXXX5374 for B. Baldinger

Chart — Vendor and Property Payments From Foreign Bank Accounts Vs. MO GIONIOS & ] WS

FBAR Chart for 2010 WM. WAITION0S BIST
FBAR Chart for 2011

FBAR Chart for 2012
FBAR Chart for 2013
FBAR Chart for 2014
Deposit Analysis — Foreign Source of Funds Received by Foreign
Accounts \J. 1O0N0S

Chart — P. Manafort Summary of Tax ReturnsqJ. WELCH S/S [1

Summary of Foreign Wires to Third Party Vendors for the Benefit of P.
Manafort M.WWELCH SIE] 1&

Chart — P. Manafort Reported Personal Income M.W ELCH S| 81\&
Chart — Analysis of Foreign Bank Accounts ,J.WELCH 818] 1
Non-Vendor Payments Allowed M.WACH 81S 11%

Chart — Selected Transactions M.WELCH STEN

Chart - FARA Analysis ,{ UGGhOW0S BIS] 1

2012.11.19 Email Chain D. DeLuca to P. Manafort, A. Manafort, J.

Browning re Contract |). DEWCA 8 [1/18
2012.10.26 Email P. Manafort to D. DeLuca re Manafort Project,

Edgewood St, Arlington, VAD. DELUCA 8/1/1%
Draft of Pergola :

SUMMARY OF UNREPORTED BUSINESS INCOME - M.weue
Qvase: Summary SF tay ELH B/6/16

@&) AS DemonsTRaTWE ONLY, :

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Description Obj. | Offd | Adm,

84 | Photograph — Backyard

85 | Photograph — Pergola
85A_ | Photograph — Outdoor Kitchen
&)/ 86 | Federal Stone and Brick Bank Records D. DELUCA 3/1/]%

Y 97 2013.05.29 Email Chain P. Manafort, D. Browning., D. DeLuca re Invoice

Q) 7 from Federal Stone and Brick ). DELUCA & AN g
88 | 2012.08.21 Check from A. Manafort to McEnearney
Y 89 | 2012.08.21 Sales Contract for 1046 N. Edgewood St, Arlington, VA W. HoWONnD 8/1) 1
90 | 2012.08.31 A. Manafort Landtech Receipt :
GY 9] 2012.09.01 Email W. Holland to L. Flynn, P. Manafort re 1046 N.
Edgewood St W. HOWAND 8/1/18
92 | 2012.09.10 Settlement Statement
93 | Chart — Purchase of 1046 N. Edgewood St, Arlington, VA

¥ 94 | Vendor Chart—SP&C 4. {amBson SANK
94A | SP&C Home Improvement Invoices (2010- 2014), JACOBSON $11/)§
¥ 95A | SP&C Home Improvement Bank Records 5. JACOBSON & ! 1 i 1k :

95B | SP&C Home Improvement Bank Records
95C | SP&C Home Improvement Bank Records
96A_ | Photograph — Backyard

96B | Photograph — Basement

96C_ | Photograph — Front of House

96D | Photograph — Kitchen

96E | Photograph — Side of House (1)

96F | Photograph — Side of House (2)

96G_ | Photograph — Waterfall Pond

/ 97 | Vendor Chart — Alan Couture M.KOTZMAN 8/1/18
/ 97A_| Alan Couture Invoices (2010-2014) U.KQTZMAN 8/1/18
7/978 _| Alan Couture Invoices (2010) M.MiKUSKO 8/1) 185 M.KOTZMAN 8/1/18
“98 | Alan Couture Bank Records M,.KOTZMAN 8/1 /1&
Y 99 | 2011.03.21 Email P. Manafort to M. Katzman re update M. KATZMAN 8/1/18
Y 100 | 2013.08.27 Email M. Katzman to P. Manafort re Statement 7-23-13 U.KOTIZMAN Sly
VY 101 | 2014.03.24 Email M. Katzman to R. Gates re Wire transfers M.KOTZMAN|8/1/]IB
¥ 102 | Vendor Chart — Big Picture Solutions J. MOXWELL 3]2/ 1% —
Y102A | Big Picture Solutions Invoices (201 1-2014)). MAYWELL 8]2)12

/102B | Big Picture Solutions Bank Records (2011 - 2013) J. MOXWELL & [2/1F
/102C | Big Picture Solutions Bank Records (2013-2014) ).WMOX WELL s| 2] IX
103 | Vendor Chart — Mercedes Benz of Alexandria

ay O3A | 2012.10.01 Invoice for K. Manafort Purchase of Mercedes Benz SL550D.O#GUT SW

2012.10.01 Buyers Order for K. Manafort Purchase of Mercedes Benz
| 1938 | siss0

é

@) 02D - EMAILS FROM MOY WELLTO GATES (MARCH 23,201U) - J NAGIZNG
Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 7 of 22 PagelD# 5568

Description

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Photographs — Mercedes Benz owned by P. Manafort

2012.10.01 K. Manafort Promissory Note for Mercedes Benz SL550 D.OPSUT 8]

ie

2012.10.05 $62,750 Wire Transfer from Lucicle Consultants Limited to
Mercedes Benz of Alexandria D.OPSUT 8 [1/|&

2012 Mercedes Benz of Alexandria Bank Statement and Wire Transfer

Vendor Chart — New Leaf Landscape YW. REGOLIZIO 3J2/1¥

New Leaf Landscape Invoices (2010-2014) MW.REGOLIZIO 8]2/| ¥

Photograph — Bridgehampton Driveway

Photograph — Bridgehampton Pond

Photograph — Bridgehampton Side of House

Photograph — Bridgehampton Pergola

Photograph — Bridgehampton Pool House

Photograph — Bridgehampton Golf Hole

New Leaf Landscape Bank RecordsM. REQOLIZIO $12/1%

2012.06.21 Proposal

Vendor Chart — House of Bijan Q wALL &/1/1%

House of Bijan Invoices (2010-201IDQ.WAL SIS

House of Bijan Bank Records R.WALL 8 [IIR

2014.10.15 New York Yankees Ticket Agreement]. KURVWACA 8] Jo] 187

New York Yankees Manafort Payment Schedule |. KiIRIMICA 8] 10] 1s

2011.11.28 Email D. Saltmarsh to R. Barre, N. Pizzutello re FW 2012
renewal payment |. KIRI oO

2011.11.23 New York Yankees Bank Record

2016.03.22 Email P. Manafort to D. Fox re Yankees Season Ticket
Licensee News L.KIRimCA Bl jo/201g

2016 New York Yankees Premium Suite Statement

2017.04.03 Email P. Manafort to D. Fox re Yankees 2017

FinCEN Certifications P.LISS 83/U)1%-

Airbnb 29 Howard St Active Listing Days ,EVENSON 814/18

Airbnb 29 Howard St Listings |

Airbnb 29 Howard St Reservations V

2011 Davis Manafort Partners General Ledger }.WOSHKUHN 3/2/18

2011 Davis Manafort Partners Financial Statements jj WOSHKUHN 38] 2/1¥ Tt

2011 P. Manafort and K. Manafort General Ledger

2011 DMP International General Ledger

2011 DMP International Financial Statements

2012 DMP International General Ledger\\. WOSMKUHN 8] 2] 1&

2012 DMP International Financial Statements

2012 P. Manafort and K. Manafort General Ledger

2013 DMP International General Ledger H.AWQSHKUHN 8)2] 1%
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Description

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2013 DMP International Financial Statements

2013 P. Manafort and K. Manafort Financial Statements

2014 DMP International General Ledger 4}.WaSH KUHN 8)2) 1%

2014 DMP International Financial Statements H.AOSHKUHN 3/2] 1

2014 P. Manafort and K. Manafort Financial Statements
Us.

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RIN

2015 DMP International General Ledger H.ANOSH KUHN 8 {
N3]2)18 5 G

apg

2015 DMP International Financial Statements .WOSHKUH
2X

2016 DMP International General Ledger WWOSHKUUN &

2015 P. Manafort and K. Manafort Financial Statements
HW SI2N18

2016.07.31 DMP International 2016 YTD P&L $4. WASH

2016.11.30 DMP International 2016 YTD Financial Statement}, WASHIKUIIN 8 12

Ng

2016 DMP International Financial Statement WH WOSH KUHN & JQ &

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2016 P. Manafort and K. Manafort Financial Statements

2015.02.05 Email Chain J. Manafort, K. Manafort, P. Ayliff, H. Washkuhn
re MC Soho }. WOSH KUHN §12]1&: BR NLIFE siatig

2015.02.24 Email Chain H. Washkuhn, C. O'Brien, P. Ayliff, R. Gates et al
re DMP International HWOSHKUHN & J2}/%

2015.04.13 Email Chain H. Washkuhn, P. Ayliff, C. O'Brien, R. Gates et al
re DMP International

2015.08.26 Email Chain L. Tanner, C. O'Brien, H. Washkuhn re DMP
International LLC

(RY 131 2015.12.01 Email Chain J. Yohai, H. Washkuhn, J. Manafort, P. Manafort
re Howard St December Rent #1. WOSHKUHN §l\2)1F
132 2015.12.31 Email Chain H. Washkuhn, P. Manafort, R. Gates, C. Laporta,
P. Ayliff re Time Sensitive - Collection of Information
OY 133. | 2016 01.06 Email Chain H. Washkuhn, P. Manafort re Bills Through
1.15.16 H.WOSHKUHN 8) 241&
_ 134 | 2016.01.07 Email Chain P. Manafort, R. Gates, H. Washkuhn re Transfer
6yA (t) ¥ 135 | 2016.01.29 Email Chain R. Gates, H. Washkuhn re Transfer - Urgent }.Wa$HKU HW) Sleliy |
OBS. 2016.02.22 Email Chain D. Duggan, H. Washkuhn, J. Yohai, P. Manafort | o
@Y 136 | et al re Evidence of Insurance; Declarations Page; Invoice attached - 377
Union Street H-WOSH KUHN 812.112
2016.02.24 Email R. Gates to M. Francis, P. Manafort, H. Washkuhn re
(A) af 137. | Manafort Chubb Insurance Properties - 377 Union St & |23 Baxter Street -
Declarations - NO Mortgagee listed both LL WasHRUt 8 \2]15; R-COMES $14 [1
; / 138 2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L - '
; IMPT (#1) H.WOSHKUHN 8 |2/18; R.GOTES 314/18
A) / 139 2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
f IMPT (#2) 1). WOSHKUHN 812]18; R. GATES £)4 [1%
(A) / 140 _| 2016.03.16 Email H. Washkuhn to R. Gates re 2015 P&L IMPT H.AVOSHKUHN 812] £2

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Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 9 of 22 PagelD# 5570

Description

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2016.04.04 Email J. Yohai to P. Manafort and H. Washkuhn re Selene
Finance Invoices

2016.05.24 Email Chain H. Washkuhn, R. Gates, P. Manafort re Funds
URGENT

2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
Travelers Auto Cancellation - J. Manafort - invoice attached

2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
Travelers Auto Cancellation - J. Manafort - invoice attached

2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.

Manafort re Documents needed for Loan}. WOSH KUHW 812] 1%; D. RAI CO &/ 10/1

\

2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, P. Manafort, C.
Laporta re Documents needed for Loan .WASH KUHN 812/18; ¢.LOl

J

ORTA

‘J Gechwan) s|iz)
8 [318

2016.04.21 Email Chain R. Gates, P. Manafort. H. Washkuhn re DMP

Open Invoices H.WOSH KUHN 842) 1&
2016.12.20 Email Chain R. Gates, H. Washkuhn, P. Manafort re NKSFB
Fee

2017.01.04 Email Chain, H. Washkuhn, D. Raico, C. Laporta et al re
Financials for P. Manafort H.WOSH KUHN 8 12) 1%; D. ROO Sfiof[g

2015 MC Soho General Ledger } AWdSH Ku HW &]| 2]] g

2011 Davis Manafort Partners Ledger Report BAN UFF §13) |&

2012.12.31 MAN001-07 DMP International

KWC Tax Organizers for P. Manafort (2012-2014) M.mMikKUSKO 8 11/1
KWC Engagement Letters (2012-2016) R AULIFE 8/2] 18 :

2014.08.26 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
Paul's pending matters (.LOPORTA 313/18

2014.09.02 Email Chain R. Gates, P. Ayliff, C. O'Brien, C. Laporta re
Union Street C-LOPORTA 8/3)\F

2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
NYC Property LLCs C-LOPORTA 3]O]|%

2015.08.26 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
Pending Items C.LOPORTA 8)3/18

2015.09.15 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re Call

Govt Ex 15@

Govr ex 21U€&)

Me (.LOPORTA $)3/1F {yt
2015.09.16 Email R. Gates to C. Laporta re DMP International, LLC @.LAPORTA 8)3/|8t

2015.09.16 Email C. Laporta to R. Gates re Loan doc? @,,0PORTA S13 11S; ROOTES SIANS
2015.12.31 Email P. Manafort to H. Washkuhn re Time Sensitive- =| :

Collection of Information C.LOPORTA 8 [3] 1%

2016.01.07 Email C. Laporta to D. Fallarino, P. Manafort re PIM CPA

FIRM - Account Manager Details - C. Laporta @.LOPORTA 813/18

2016.02.04 Email Chain C. Laporta, D. Fallarino, M. Francis, R. Gates, PB,

Manafort re DMP Int'l Income Question (.LOPORTA 81 B)1S’; RATES SIF | 18)

2016.02.05 Email C. Laporta to R. Gates re Manafort #XXXXX5212@.LOPORTA 8/3/18]: RGONES 8/4/18
2016.02.08 Email R. Gates to C. Laporta re Letter ( LO PORTA 813) 18 :R-GOTES 813/15

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[52P - 2013 TAX ORGONIZER 9 -—C.LAPORTA 8/3/18
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Description

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2016.02.08 Email R. Gates to C. Laporta re Letter (6 LOPORTA 8/3/185R
2016.02.09 Email R. Gates to C. Laporta re Letter * | PORTA P1491)

2016.02.24 Email Chain C. Laporta, M. Francis, D. Fallarino, R. Gates, P.
Manafort re Manafort #XXXXX5212 (0). LO PORTA 313)13; R.UTES

GOED 8] F/18
sR. Hg |
p.Miceu ®/1

83/185. JAMES 8/918

2016.03.15 Email Chain C. Laporta, P. Manafort, R. Gates re 377 Union St

Construction Loan) LOPORTA 813/183 Q.GOTES 314/18

2016.03.25 DMP International Ledger Report re Peranova © LAPORTA &

s/i21

2016.04.05 Email Chain C. Laporta, C. O'Brien, R. Gates re DMP
International Questions 0.LOPORTA §|3] 1s

2016.04.12 Email R. Gates to C. O'Brien re Pending Questions C.ADPORTASIS | 12

GOTES 81/18

2016.05.02 Email R. Gates to C. Laporta re Letter. LOPORTA _3)3)18,8

2016.05.16 Email Chain C. Laporta, D. Fallarino, R. Gates re Manafort
Items Needed, LOPORTA ®[4l18; R.GOTES 8] 418°

2016.08.11 Email C. Laporta to P. Manafort re 377 Union St loan (LAP)

3 QB

2016.08.11 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
Washkuhn re Documents needed for Loan ().. (PORTA & as

8) 1

2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, C. Laporta, P.
Manafort re Documents needed for Loan

2016.09.04 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
Paul's tax returns - more questions

2016.09.13 Email P. Manafort to R. Gates re Updates - DMP 0, LQPORTA

ee

2016.09.14 Email Chain R. Gates, P. Ayliff, C. Laporta re Updates - DMP@

8/3]
pure 6/316

2016.10.04 Email Chain C. Laporta, T. Von Traer, P. Ayliff re Paul
Manafort's pending matters (;.LOPORTA 813/)%

2016.10.06 Email Chain C. Laporta, P. Manafort, R. Gates re up to date? Bl

NS

2016.10.07 Email C. Laporta to P. Manafort re Lola Partners, LLC and“
draft gift tax returns

2016.12.28 Email Chain C. Laporta, R. Gates, H. Washkuhn, D. Raico re
Financial Needed Asap

2014 Adjusted Journal Entry Report @,LOPNRTI Bax

DMP International 2014 1099-MISC Form

DMP International Funds Due to Peranova (.L0PORTA SBS

2012 MC Soho General Ledger

2015.09.15 DMP International Ledger Report — Telmar Investments C.LOPC

DMP International Ledger Reports — Peranova Entries B. AYU FF S13 ])&

KWC Manafort Tax Returns Chart PONUFF 813/18 3C.LOPORTA 8 |3/

2011.09.09 Peranova Loan Agreement

TB-01 - Adjusted Trial Balance (2014) , OPORTA 8/3/19

TB-01 - Adjusted Trial Balance (2015) (.LAPORTA £19) \&

2015.09.15 Email R. Gates to C. Laporta re Forms@.LOPORTC! 9 [3] 18:

2009.09.09 Email Chain N. Lakkis, P. Ayliff, P. Manafort, D. Walters re .

2 COTES S/F _

LOAV P.ONLIFF 3)3]18

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No. Description Obj. | Offd | Adm.
197 2011.03.24 Email P. Manafort to M. Chrysostomides re Transfers from
Leviathan
Y 198 | 2011.08.21 Email P. Ayliff to P. Manafort re 2010 Taxes PONLIFE S13/1F
/ 199 2011.10.04 Email Chain P. Ayliff, N. Lakkis, P. Manafort re 2010 tax
filing PPNLIFF SI9/IB
200 | 2011.11.29 Email Chain P. Manafort to R. Gates re Payments

2012.06.29 Email Chain R. Gates, N. Lakkis, D. Walters, N. Lakkis re

Foreign Accounts RONLIFF RISNI- ROOIESS [+] 18

2012.09.06 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
International, LLC tax return - DUE 9.17.12 B NUFF S19 IX

2012.09.16 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re

df.

ae FINAL FINAL Questions
204 | 2012.10.14 P. Manafort Signed IRS Form 8879 PB ANLIFF 8)2/ 1%
Y 205 | 2013.02.05 Shipment from KWC to P. Manafort P. AYUFFE 813/18
/ 206 2013.06.24 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
Foreign account report due 6.30.13 ROVUFF : 6] t
/ 207 2014.08.29 Email P. Ayliff to R. Gates, C. O'Brien re Paul unidentified
transaction RONUFF 5]3/]8
208 2013.09.13 Email P. Ayliff to C. O'Brien re Paul's tax return questions -
including 3rd gtr est - due 9/16
V 709 2014.09.04 Email R. Gates to P. Ayliffre Paul's tax returns - more
questions PDYLAEF 8/3118
710 2014.09.14 Email Chain H. Washkuhn, P. Ayliff, C. Laporta, R. Gates, L.
Tanner re MC Soho Holdings P, ANLIFF813/ 1S"
D1 2014.12.07 Email Chain P. Ayliff, C O'Brien, C. Laporta re Call with
Gates - for the 2014 file
/ 212 | 2015.01.08 Email From P. Manafort to P. Ayliff re - UBS Mortgage P. AYU FF 819] 187
3 2015.02.05 Email Chain P. Manafort, J. Manafort, J. Yohai, K. Manafort,
P. Ayliff, H. Washkuhn re MC Soho
/214 2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
NYC Property LLCs PONUFF §$]8)18,C.LaPORTA Oj3/10
415 2016.03.16 Email Chain P. Ayliff, N. Zeien, R. Gates, H. Washkuhn, C.
O'Brien, C. Laporta re DMP International - Open Items
16 2016.10.03 Email Chain P. Manafort, C. Laporta, R. Gates, P. Ayliff re P.

Manafort's pending matters

Selected KWC Invoices Manafort-Related Entities 2 ANLIFF $13/1%

2015.09.11 Email Chain C. O'Brien, C. Laporta, P. Ayliff, H. Washkuhn,
R. Gates re DMP Sports Tickets

2015.09.15 Email from C. O'Brien to R. Gates cc C. Laporta, P. Ayliff re
DMP Loan R. @OTES 6/4/|&

2015.10.07 Email Chain R. Gates, C. O'Brien re Paul's 1040

R-GATES 814) 18"

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2016.02.23 Email Chain R. Gates, M. Francis, P, Manafort, H. Washkuhn
re Final Document Request R. (ATES 3] if « M. James B/a)\e

2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause

aon update
/ 239 2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
update Y.JQmMeS 3/4/16
/ 749 | 2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
re Final Document Request R.GOTES 8/F 115
J 441 | 2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
“ re Final Document Request M.JQMES BJA) 1
2016.02.24 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
/ 242 | re Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter

Street - Declarations - NO Mortgagee listed both M. JAMES 8 Ja) 1g

Description Obj. | OfPd | Adm.
2016.04.05 Email Chain R. Gates, C. O'Brien, C. Laporta re DMP
International Questions C.LOPORTAL 8 [Sng
22 2016.04.15 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
Pending Questions
273 2015.12.24 Email Chain P. Manafort, D. Fallarino re 27 Howard Street Re-
fi
2016.01.15 Email Chain D. Fallarino, M. Francis, J. Del Bene re Citizens
Bank, N.A. Package Submitted (Loan Number XXXXX3998) J. JOMES 8/4/18
VY 25 2016.01.21 Email Chain P. Manafort, M. Francis, D. Fallarino re Next 3
StepsN.JOMES 8/9/12
226 | 2016.01.21 Email P. Marafort to M. Francis re Part One
2016.01.26 Initial Loan Documents M. J AMES 8/4) |z
2016.01.27 Email P. Manafort to M. Francis re Remaining Docs - Howard
: Mortgage M. JAMES S)A/1¥5 PMiceLi 8/4 /[F
/ 229 | 2016.02.02 Email P. Manafort to M. Francis re Use of Cash Memo WY. JAMES 12 )18;|Pwmiceul 3/4
/ 739 | 2916.05.02 Email Chain D. Fallarino, P. Manafort, C. Laporta, R. Gates, J. et
Yohai re Primary Residence Letter - Union St T.RODRI (QUEZ S19 /| 8
/231 2016.02.09 Email Chain D. Fallarino, P. Manafort, M. Francis re DMP Int'l
= Income question Y.JaAMES 8/4/18
1/937, | 2016.02.12 Email Chain M. Guadron, D. Fallarino, T. Rodriguez re
ee Manafort #XXXXX5212 PMICEU S/a/1y
233 2016.02.17 Log Entry Email P. Miceli, M. Guadron, D. Fallarino, M.
Francis re ATP submitted Loan XXXXX5212 - Manafort, P.
234 2016.08.11 Email Chain C. Laporta, P. Manafort, D. Fallarino, H.
Washkuhn et al re Paul & DMP International
/ 735 2016.02.21 Email Chain M. Francis, P. Manafort, H. Washkuhn, R. Gates,
D. Fallarino re final document request RR. Crores 8/4 18; M. WOME [4/1¢°
236 2016.02.23 Email M. Francis to D. Duggan re manafort morgagee clause

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Description Obj. | Offd | Adm.

AY 143 2016.02.17 Email Chain P. Miceli , D. Fallarino, M. Guadron re Secret

7 Exception Request Submission [Manafort/0024625212] PMICceL 8)IAF

hy) 2016.02.24 Email M. Francis to J. Dos Santos re Manafort Additional

conditions

Y 245 | 2016.03.04 29 Howard St Signed 1003 Form ($2,730,000 Conventional) yy \Jayies 8/8 Nz; FR MiceLi 84

Oy 246 | 2016.03.04 29 Howard St Signed 1003 Form ($682,500 HELOC) 4. James Bha/1e

247 | 2016.03.04 29 Howard St Closing Documents

/ 248 2016.04.25 Email Chain P. Manafort, R. Gates, J. Yohai, D. Fallarino, C.
Laporta, T. Rodriguez, H. Washkuhn re 377 Union St Construction Loan T.RODRIGUEZ) 8/9/I1¥

/ 249 2016.05.04 Email Chain P. Manafort, D. Fallarino, T. Rodriguez re KWC
Letter T. RODRIQUEZ 814/18

2016.05.02 Letter P. Manafort to D. Fallarino

T-RODRIGUEZ 84/1

51 2016.05.06 Email Chain P. Manafort, D. Fallarino, R. Gates. T. Rodriguez
re Primary Residence Letter - Union St T. RODRIGUEZ 819 [18

# 252 2016.05.09 Email Chain T. Rodriguez, J. Yohai, D. Fallarino, P. Manafort

7 re 377 Union St Consruction Loan T. RODR 1] GUEZ. SI9/18
2016.03.16 Email Chain P. Manafort, R. Gates, C. Laporta re 377 Union St

Consruction Loan

2016.05.17 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
Rodriguez re Manafort Items Needed" T- RO DRi (KUEZ Sa) 1g

/ 255 | 2016.07.13 377 Union St Uniform Residential Loan ApplicatiorT, RODRIGUEZ $4/I8
2016.08.09 Email Chain T. Rodriguez, D. Fallarino, P. Miceli, M. Guadron :
re Manafort - OMG

@ Y 2016.08.16 Email T. Rodriguez to D. Fallarino re Manafort file

HW. WOSHKUAN 812 }(8T-RODRIGUEZ 8/4/1X

2017.08.17 Email Chain D. Fallarino, A. Howey, T. Rodriguez, M. Francis

298 | te Manafort #002789869

759 2016.02.09 Email Chain D. Duggan, S. Belleau, J -Yohai, P. Manafort Re
Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St

260 2016.02.22 Email Chain D. Duggan, H. Washkuhn, P. Manafort, J. Yohai

~ re Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St

261 2016.02.23 Email D. Duggan to H. Washkuhn re Manafort Insurance

Requests

/. 2016.02.24 Email D. Duggan to R. Gates re Manafort Chubb Insurance
262 | Properties - 377 Union St & 123 Baxter Street - Declarations - NO

. Mortgagee listed both R. COTES SANS

¥ 263 | 2016.02.24 Email D. Duggan to R. Gates re Call Q. GOES S]afig

264 | Moody Insurance Client Log

(A)y 28s 2016.07.28 Email S. Calk to D. Raico et al re Revised Portfolio Summary -

P. Manafort and J. Yohai D.RGICO S| ol 1g
2016.08.02 Email Chain C. Laporta, A. Ivakhnik, D. Raico, P. Manafort,
R. Gates, H. Washkuhn re Documents Needed for Loan

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No Description Obj. | Offd | Adm.
67 2016.08.03 Email Chain C. Laporta, A. lvakhnik, P. Manafort, H.
- Washkuhn re Documents Needed for Loan
Y 268 | 2016.08.03 Email D. Raico to P. Manafort re Need S. Calk Resume J, ROIO SioilY
} 269 | 2016.08.04 Email P. Manafort to S. Calk re S. Calk- Professional Bio “Tt
270 2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
Manafort re Documents needed for Loan
271 | D. Raico Journal
272 | 2016.08.09 Email A. Ivakhnik to D. Raico et al re New Appraisal Order
Y 273 | 2016.08.11 Notice Titled Mortgage Fraud is Investigated by the FBI A.CHO OwSK1 Slo] 1
V an 2016.08.16 Email Chain A. Ivakhnik, T. Horn, D. Raico re 2013 P.
by Manafort's tax returns D. RO{(O §] lof, + Brennan 6\\3\ K
/ 2016.09.13 Email Chain T. Horn, J. Ubarri, J. Norini, J. Brennan re
vy) 275
() Manafort -T, Geennan a { 2\ IO
/ 176 2016.10.05 Email D. Raico to J. Ubarri re Manafort/Y ohai and M. Bello
@) files - update post S. Calk meeting p. RAICO §|10 Ne
277 2016.10.07 Email Chain S. Calk, P. Manafort, D. Raico re Closing on
(A Nottingham & Bridgehampton Loans 1). R ICO $] {OX
2016.10.11 Email Chain T. Horn, D. Raico, P. Manafort, C. Laporta, J.
Brennan re My 2015 Tax Return - FINAL Draft D. RAICO Sol l|&
2016.10.19 Email Chain J. Brennan, J. Ubarri, P. Manafort, D. Raico, B. .
Baldinger, J. Yohai re Restructure framework of Loan Agreement P.RAICO S| tD/I<
2016.10.19 Email P. Manafort to B. Baldinger, D. Raico, J. Yohai re "
Restructure framework of Loan Agreement DP. RA1CO SONS
@) 2016.10.20 Email Chain D, Raico, P. Manafort, B. _ Baldinger, J. Yohai re
Restructure framework of Loan Agreement 0. RAICO SOs s
® 2016.10.21 Email P. Manafort to D. Raico re DMP P&L Sept 20164). WOSHRUBA) S)211% .D-RAIO Bjc
/ 2 33 2016.10.21 Email Chain D. Raicg, E. Cholakis, P. Manafort re DMP P&L
"| Sept 2016 ROO S10] {18
Y 284 | 2016.10.21 Email Chain D. Raico, J. Ubarri, J. Brennan re Manafort loanfy RA{CO R110 11k
595 | 2016.10.26 Email Chain C. Laporta, P. Manafort, D. Raico, J. Yohai, B. a
Baldinger, H. Washkuhn re Hampton Refinance - Deliverables Update
) A 286 2016.10.26 Email Chain T. Horn, D. Raico, J. Brennan et al re Manafort
7 ‘Review - compared both files too 4. Bréanan a| | 3 id
Y 287 | 2016.10.28 Signed Uniform Residential Loan Application Bridgehamptonf) 20 1(0 8110 [124. BRENSAN én
¥Y 288 | 2016.10.28 Undisclosed Debt Acknowledgement A, CHOTNOW SKI S]io/1s A
/ 289 | 2016.11.01 377 Union St Uniform Residential Loan Application D, RICO §]10/ (& J. Brennan e\\3| \g
A 290 2016.11.08 Email Chain V. Bartholomew, D. Raico, S. Miller, A. Sparks re :
Request for supporting documentation - Mr. P. Manafort/Loan #XXX3572
(M21 2016.12.07 Email D. Raico to J. Brennan re Moving forward with
Manafort's Brooklyn property D.RGICO SION
,292_ | 2016.12.07 Email S. Calk to D. Raico re Nervousness is setting in
Y¥ 293 | 2017.01.05 377 Union St Loan Memorandum D. RAICO SOME

14
Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 15 of 22 PagelD# 5576

Response (7.SEFERION 8ja/i x

NG Description Obj. | Offd | Adm
/ 294 | 2016.08.11 2401 Nottingham Uniform Residential Loan Application J, BREWWNAN B\\8\1g
295 | 2016.12.07 Email S. Calk to P. Manafort, D. Raico re Updates?
2016.03.09 Banc of California Loan Application &.SEFER JON SJAIg
2016.03.10 Email P. Manafort to P. Kaufman re Schedule of Real Estate G.SE aw SAS
V 398 2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re | o
Manafort BTRs 1.WOSH KUHNS [2] 18, RGOTES 814]18°5 Or-s EFRRION 18) 2"
/ 799? 2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re

300 | 2016.03.23 Email P. Manafort to P. Kaufman, J. Yohai re K. Manafort PFS
301 2016.03.23 Email Chain J. Yohai, P. Manafort, R. Gates, P. Kaufman, K.
LaPorte re Manafort Yohai information
302 2016.05.05 Email Chain S. Bently, T. Quick, G. Seferian, P. Kaufman, K.
LaPorte et al re Baylor Holdings &.SEFERION 819/18
/ 303 | 2016.05.09 Credit Approval Memorandum (%, SEFERION 8/9/12
304 | 2016.03.16 Email Chain J. Yohai, P. Manafort, R. Gates re STATUS
/ 305 | 2016.05.11 Business Loan Agreement ( SEFERIAN £19] 12
/ 306 | 2016.05.11 Commercial Guaranty @r-SEFERION 214/18
307 | 2016.03.11 377 Union St Title Search .
308 2016.07.13 Email Chain K. LaPorte, T. Holmes, G. Seferian et al re Baylor
Holding, LLC
309 2016.09.08 Memo K. LaPorte to File, G. Seferian, P. Alexander re Meeting
with P. Manafort and J. Yohai
310 | 2017.03.23 Handwritten Notes
311 | 2017.06.27 Forbearance Agreement
312 | Handwritten Notes on Chart
313 | 2016.02.08 P. Manafort Borrower's Affidavit
314 | 2016.02.09 377 Union St Building Loan Agreement
315 | 2016.02.09 Evidence of Property Insurance
316 | 2016.02.09 P. Manafort Borrower's Affidavit
317 | 2016.02.09 P. Manafort Guarantee
318 | 2016.02.09 P. Manafort Guarantee
319 | 2016.02.23 Recorded Building Loan Mortgage and Security Agreement
320 2016.02.23 Recorded Mortgage, Assignment of Leases and Rents and
Security Agreement
32] 2016.09.02 Email Chain J. Day, B. Baldinger, J. Yohai re M. Solow
communications
322 2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Filed Notice of
Pendency
323 2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Served Notice
of Pendency
324 2017.01.23 Genesis Capital vy. MC Brooklyn et al Affirmation Canceling

Notice of Pendency

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Description

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Adm.

P. Manafort American Express Bank Records for Account No. XX XX-
XXXXXXX-3007

P. Manafort American Express Bank Records for Account No. XXXX-
XXXXXXX-5007, 2016-17

P. Manafort American Express Bank Records for Account No. XXXX-
XXXXXXX-6002, 2016

R. Gates American Express Bank Records for Account No. XXXX-
XXXXXXX-3003

Aegis Holdings Stipulation READINTO RECORD 8/2/19,

Aegis Holdings Stipulation Exhibit .\, MOONS gI1gI1%

First Nationwide Title Stipulation READ 17) AECORD & j2]i¢

First Nationwide Title Stipulation Exhibits

J&J Oriental Rug Gallery Stipulation READ INTO RECORD 6/1] 1F

J&J Oriental Rug Gallery Stipulation Exhibits

Kensington Vanguard Stipulation READINTO RE(ORD 82) 1%

Kensington Vanguard Stipulation Exhibits

Land, Carroll & Blair Stipulation READINTOD REORD 811/18

Land, Carroll & Blair Stipulation Exhibits

Land Rover of Alexandria StipulationREQD INTO RELOAD 8/1/19

Land Rover of Alexandria Stipulation Exhibits

Mercedes Benz of Alexandria Stipulation READ \NID RECORD 8/1/18

Mercedes Benz of Alexandria Stipulation Exhibit

Sabatello Construction Stipulation READINTO RECORD 8] 2] 18

Sabatello Construction Stipulation Exhibits

Scott Wilson Landscaping StipulationREODINTD RELORD 8/2/18

Scott Wilson Landscaping Stipulation Exhibit

Sensoryphile Stipulation READ j ro RECORD B/2I1%

Sensoryphile Stipulation Exhibits

Tax Returns Stipulation READ INT) RECORD 312] 1¥

1040 Paul J. Manafort 2010 (certified) % ANLIFE 8] 2)/18; 8/9/18

1040 Paul J. Manafort 2011 (certified) P. AY LIFE 8 | 5)|

1040 Paul J. Manafort 2012 (certified) PONUFF SISIIX
1040 Paul J. Manafort 2013 (certified) POYLIFF $15 /1&
1040 Paul J. Manafort 2014 (certified) POYUFF 813/18

1065 DMP International 2011 (certified)

1065 DMP International 2012 (certified) P.OYLIFF 3] 3/18

1065 DMP International 2013 (certified) e INLIFF BSN

1065 DMP International 2014 (certified) P.OYUFF 313/18

1065 MC Brooklyn 2012-2014 (lack of records)

1065 MC Soho 2012-2014 (lack of records) V

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73371. | 1065 MC Soho 2015 (eenified)_p. NUFF 8 [2118;3]9]18 0 .LOPORTA SIB)I¢, 00/1; M. san
Y337M | 1065 MC Soho 2016 (certified) | ROYLIFE 813/18; N. james B/ANS. Pri cei 8149/1
/337N | 1120S Davis Manafort Partners 2010 (certified) RONUFF 313] [oo
¥ 3370 | 1120S Davis Manafort Partners 2011 (certified) RAYUFFS/3]\z

337P | 1120S Davis Manafort Partners 2012-2014 (lack of records) _

337Q | 1065 John Hannah 2010 (certified)

337R | 1065 John Hannah 2011 (certified)

337S | 1065 John Hannah 2012 (certified)

337T | 1065 John Hannah 2013 (certified)
337U | 1065 John Hannah 2014 (certified)
¥338A | R. Gates 2009 Passport 2 GOTES 8 J} \¥
/338B | R. Gates 2011 PassportQ GATES Io Ne

338C | R. Gates 2013 Passport

339 | 2016.11.24 Email P. Manafort to R. Gates re DOD Service secretaries

340 2010.02.20 Memo P. Manafort to V. Yanukovych re Launch of Public

Affairs Plan

341 | 2012.04.08 Memo P. Manafort to V. Yanukovych re AC Project - Update
/342 2012.06.04 Email Chain P. Manafort, K. Kilimnik, R. Gates re ST

documents R.GATES S$] WU] |

343 | 2012.06.19 Memo P. Manafort to AK re Polling Project - Update

2012.07.12 Email K. Kilimnik to P. Manafort, R. Gates re EI Outreach -
International Plan R.GOTES S$] /1
345 | 2012.07.13 Email K. Kilimnik to P, Manafort, R. Gates re Demidko
documents - Party program
AY 346 2012.10.06 Email P. Manafort to K. Kilimnik, R. Gates, D. Rabin et al re
Memo on campaign Status R.QQTES B/UNS
347 2013.02.04 Memo P. Manafort to V. Yanukovych re US Government
Activity
348 2013.02.19 Memo P. Manafort to V. Yanukovych re US Government
Update
349 | 2013.02.21 Memo P. Manafort to V. Yanukovych re Hapsburg - Update
AM. 350 _|-flntentionally- Left Blank|( Nero RaNDUM 4|22]20\5) RGOTES 8/4/18
35] Memo P. Manafort to BVK, S. Lyovochkin re Campaign budget for
national and regional TV, radio advertising
V 352 2014.10.29 Memo P. Manafort to S. Lyovochkin, R. Akhmetov re
Roadmap for November - December 2014 R.(QTES ¥& [a] 1%
353 | DMP International Consulting Agreement
354 2010.01.31 Memo P. Manafort to V. Yanukovych et al re Final Week -
Strategy, Tactics and Messages
VY 355 | 2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus M.MIKUSKO 8ii/1& (TAKENUN ADVISE-
2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus R, GATES 8Ju! Q = MENT)

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17
Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 18 of 22 PagelD# 5579

Ex.

No. Description Obj. | Off'd | Adm.
357 | 2010.04.06 Memo P. Manafort to K. Kilimnik re SL Staff Meeting
358 | 2010.04.09 Memo P. Manafort to V. Yanukovych re Goals of US Trip
(AV 359 2011.10.11 Memo P. Manafort to V. Yanukovych and S. Lyovochkin re
Consulting Payments M. MiKUSKO S18; SANS
360A | 2010.05.01 Leviathan and Telmar Consultancy Rewecu
360B | 2011.11.01 Peranova and Telmar Consultancy Agreement
360C | 2012.04.01 Black Sea and Dresler Consultancy Agreement
360D | 2012.06.01 Black Sea and Telmar Consultancy Agreement
360E | 2012.06.05 Black Sea and Dresler Consultancy Agreement
360F | 2014.03.01 DMP International and Telmar Consultancy Agreement
360G | 2014.05.15 DMP International and Telmar Consultancy Agreement
361 | 2013.09.20 Email A. Damianou to R. Gates re Yiakora
362 2014.01.24 Email C. Nicolaou to R. Gates, G. Ioannou re
Payments/Transfers
363 | 2015.07.10 Email R. Gates to K. Kilimnik re Contract for 1
G7 364 2015.08.25 Email K. Kilimnik to R. Gates re Contract for 1 R.G@OTES 3) 1@
365 | 2015.08.28 Email Chain P. Manafort, R. Gates, K. Kilimnik re FYI
366 | Invoice DMP International to Opposition Bloc Party
367 | 2014.03.19 Email A. Damianou to R. Gates re Serangon Holdings Limited
368 | 2014.05.02 Email A. Damianou to R. Gates re Cyprus Companies
369 | [Intentionally Left Blank]
@y 370 | 2011.11.29 Email Chain P. Manafort, R. Gates re Payments R, (TES 8] Ig
371 | [Intentionally Left Blank]
 372_| 2013.03.21 R. Gates Agenda M.MiKUSKQ 8/1/18 5 RGOTES 8/4/18
/ 373 2014.12.13 Email Chain R. Gates, P. Manafort re con call this morning -
5 around 800 am @.G0TES 8]4] 1g
374 2013.09.1 1 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
J International
BY 375_| 2015.04.17 Email Chain R. Gates, P. Manafort re Tax - Extensions R,G@0TES 8/4/18
® V 376 2015.08.31 Email Chain H. Washkuhn, E. Paik, L. Tanner, R. Gates re
" Income R.GOTES $]4/1¥
® / 377 2016.03.16 Email P. Manafort to R. Gates re 377 Union St Consruction
: Loan.GOTES 8] 4/1
378 2016.09.13 Email Chain H. Washkuhn, R. Gates, L. Tanner re Manafort
related entities - due by 9.15
379 2016.07.26 Email Chain H. Washkuhn, R. Gates re DMP Funding
AY 380_| 2016.01.06 Email P. Manafort to R. Gates re VIP TIME SENSITIVE R.@0f] SINS
381 | 2012.08.10 Email R. Gates to V. Weber, T. Podesta re Question i
) 382 | 2012.10.09 Memo P. Manafort to S. Lyovochkin re Translation Expenses

18

Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 19 of 22 PagelD# 5580

No. Description Obj. | Off'd | Adm.
383 2013.03.23 Memo P. Manafort to S. Lyovochkin re US Consultants
Activity - Weekly Update
OY 384 | 2016.02.24 Email Chain R. Gates, P. Manafort re Update R. (ATES 8)/]
385 | [Intentionally Left Blank]
386 | [Intentionally Left Blank]
387 | [Intentionally Left Blank]
/ 388 _| 2016.02.08 Email Chain P. Manafort, R. Gates re Letter Q.(70TES 814/181
J 389 | 2016.02.08 Email R. Gates to P. Manafort re Letter Q, (OATES 8)4] 1&
390 | [Intentionally Left Blank]
(A)-/ 391 | 2016.03.16 Email Chain R. Gates, P. Manafort, J. Yohai re needs R.GOTES |$ [AI
(A) 392 | 2016.03.16 Email Chain P. Manafort, R. Gates re Responses RATES 8/4/1Y:GSEFERIGN 8]9/1%
(N) / 393 2016.01.14 Email Chain P. Manafort, R. Gates, Yankees Premium re 7
Important 2016 Ticket License Balance Due (ATES 8/4/18
394 2016.01 23 Email Chain R. Gates, P. Manafort, D. Fox re Updated Contact
Information
395 2016.01.26 Email Chain P. Manafort, R. Gates, D. Fox re Please Reply "I
authorize this payment"
396 | 2016. 01 .26 Email Chain R. Gates, P. Manafort re 2 things .
. 118
(b) / 308 2016.03.15 Email R. Gates, P. Manafort, C. Laporta re 377 Union St
) Consruction Loan ®. COTES 8It/I¥
FY) ¥ 399 | {Intentionally Left Blank 11/2U/201w EmaiLve:CAaud) - R.GaTes 14116
(f) V 400 2016.03.22 Email Chain P. Manafort, D. Fallarino, R. Gates re 377 Union
St Consruction Loan R. COTES & 14] IW
A) 40] | 2016.05.01 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
Rodriguez re 377 Union St Consruction Loan
(A) 402 _| [Intentionally Leh Blanky/12)23]201V EMAIL) -RGATES B/F/IK
(A) 2016.05.06 Email Chain P. Manafort, R. Gates, D. Fallarino, T. Rodriguez
re Primary Residence Letter - Union St RGOS 3}3/1£
[Intentionally Left Blank]
2016.10.21 Email Chain P. Manafort, R. Gates, H. Washkuhn re 2016 P&LQ, 5 S (HIS
2016.10.21 Email P. Manafort to R. Gates re pls convertQ(79TES BIFIIG
2016.10.21 Email R. Gates to P. Manafort re 2016 P&LR.(FOTES BITS
2016.10.21 Email R. Gates to P. Manafort re 2016 P&LR.TATES B/A/IS
2016.10.21 Email P. Manafort to R. Gates re AGENDA R (7QTES 814/16

[Intentionally Left Blank]

2016.10.21 Email R. Gates to P. Manafort re pls convert 2. G@(ITES 8]4/1

P. Manafort 2008-2018 Passport M.MiKUSKO S/S

P. Manafort 2012-2014 Passport \W.MiKUSKO S]\f x

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2016.01.01 - 2017.07.25 P. Manafort AT&T Phone Records

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Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 20 of 22 PagelD# 5581

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x Description Obj. | OfPd | Adm.
414 | 2010.06.01 Email P. Manafort to K. Kilimnik re Q and A for VY
415 2010.06.02 Email P. Manafort to K. Kilimnik re Press and Diplomatic
Package
416 | 2011.11.29 Email Chain P. Manafort, R. Gates re Payments
2012.07.14 Email Chain P. Manafort, D. Rabin, T. Fabrizio, B. Ward, K.
417 | Kilimnik, R. Gates, V. Stepanov re testimonials, Accomplishments,
schedule
418 2014.05.24 Email P. Manafort to K. Kilimnik cc R. Gates re Organization
of Package of documents
419 2014.08.25 Email Chain P. Manafort, N. Azzam, T. Barry, R. Joyce re
Mortgage Rates
420 | 2015.09.25 Email Chain P. Manafort, R. Gates re update
421 | 2012.10.15 Monday Agenda
Y 422 | 2016.01.26 Email P. Manafort to J. Yohai re Howard St Appraisal M. James 8/9/1¢
423 2016.02.09 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re 1!
Lease for 5th Ave property
V 424 2016.02.11 Email Chain P. Manafort, R. Gates, D. Fallarino, M. Francis re
Letter of Forgiveness Q. OTES SIF)
425 | 2016.02.12 Email P. Manafort to J. Yohai re Citizens Loan - Howard St
426 2016.02.16 Email Chain P. Manafort, R. Gates, K. Mazzocco, T. Barry, H.
- Washkuhn re Personal and DMP bills
Y 427 | 2016.02.17 Email Chain P. Manafort, R. Gates re My signature R. GOTES OIF] |F
428 2016.02.24 Email P. Manafort to D. Fallarino re 2 issues re Union St and .
Baxter St
429 2016.02.26 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re
Success
430 | 2016.03.09 Email R. Gates to P. Manafort re Personal Finance Statement
431 | 2016.03.10 Email P. Kaufman to P. Manafort re Schedule of Real Estate
432 2016.03.22 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, C.
Laporta re 377 Union St Consruction Loan
433 | 2016.08.04 Email Chain S. Calk, P. Manafort re S. Calk- Professional Bio
434 | 2016.08.15 Email J. Wetzel to P. Manafort re Scan
435 2016.10.26 Email Chain J. Yohai, P. Manafort, J. Yohai, D. Raico re
Hampton Refinance - Deliverables Update
436A | Alan Couture Certificate of Authenticity
436B | Rabin Strasberg Certificate of Authenticity
436C | Devine Mulvey Longabaugh Certificate of Authenticity #1
436D | Devine Mulvey Longabaugh Certificate of Authenticity #2
436E | Federal Stone & Brick Certificate of Authenticity
436F | New York Yankees Certificate of Authenticity
436G | Joel Maxwell Certificate of Authenticity
436H | New Leaf Landscape Certificate of Authenticity

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Description

Obj.

Off'd

Adm.

Moody & Associates Certificate of Authenticity

SP&C Home Improvement Certificate of Authenticity

SunTrust Certificate of Authenticity

Cyprus Incorporation Documents (66A) Certificate of Authenticity

Eurobank Documents (66B) Certificate of Authenticity

Hellenic Bank Documents (66C) Certificate of Authenticity

Bank of Cyprus (66D) Certificate of Authenticity

Bank of Cyprus (66E) Certificate of Authenticity

Accounting Records (66F) Certificate of Authenticity

Hellenic Bank (66G) Certificate of Authenticity

St. Vincent and the Grenadines (67A) Certificate of Authenticity

St. Vincent and the Grenadines (67B) Certificate of Authenticity

St. Vincent and the Grenadines (67C) Certificate of Authenticity

2016.11.12 Summerbreeze Loan Memorandum

2016.12.13 Email Chain D, Raico, P. Manafort, J. Brennan, C. Laporta, T.
Horn re My 2015 Tax Return - FINAL Draft D. RGICO 8I1O/1&

2016.08.04 Email S. Calk to P. Manafort re Stephen Calk-Professional Bio

2016.09.25 Email P. Manafort to S. Calk re Monday

OS S

2016.10.07 Email S. Calk to P. Manafort re Closing on Nottingham &
Bridgehampton loans

2016.10.08 Email P. Manafort to S. Calk re sorry I missed you

2016.11.14 Email S. Calk to P. Manafort re

December 11 Conference Call Agenda Mi KUSKA 8/1/18

R. Gates Agenda \ .WiKUSKO Si g

Gates - payments \4. Ai g

Actinet BOC Account Documents N.MOAGIioNODS 8/8 /18

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Actinet Hellenic Account Documents

Black Sea BOC Account Documents

Bletilla BOC Account Documents

Bletilla Hellenic Account Documents

Global Endeavour Loyal Bank Account Documents

Global Highway BOA Account Documents

Jeunet Loyal Bank Account Documents

Leviathan BOC Account Documents

LOAV BOC Account Documents

Lucicle BOC Account Documents

Lucicle Hellenic Statements

Marziola Hellenic and BOC Account Ddcuments

Olivenia Hellenic and BOC Account Dotuments

Peranova BOC Account Documents 4

Case 1:18-cr-00083-TSE Document 257-2 Filed 08/21/18 Page 22 of 22 PagelD# 5583

pro. THROVGH YU B)
Ex. ees :
No. Descr, Ror iNOS S/ale Obj. | Offd | Adm.

447P | Serangon BOC Account Documents
| 447Q | Yiakora BOC Account Documents SY

448 | Email Stipulation READ INTD RECORD

449 | FDIC Stipulation READ INTO RECORD B/B/1S
A) 450. | Financial Records Stipulation READ INTO REORD

Business Records of Bookkeeping and Tax Preparation Services

451 | Stipulation (WO NED TO BE REID BY AGREEMENT OF PARTIES )
(450 - STIPULOTION- Red D INTD RECORD 8/8/16

The government further respectfully requests leave of the Court to file additional exhibits

if necessary.
(&) 500 - STIPULATION RE: GENESIS CAPITAL — REOD INTO RECORD 8/8
Respectfully submitted,
ROBERT S. MUELLER, III
Special Counsel
By: /s/
Uzo Asonye Andrew Weissmann
Assistant United States Attorney Greg D. Andres
Eastern District of Virginia Brandon L. Van Grack

Special Assistant United States Attorneys
Special Counsel’s Office

U.S. Department of Justice

950 Pennsylvania Ave., NW
Washington, DC 20530

Telephone: (202) 616-0800

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& 20 Eman Chin 4. Kushner, P. Marodoct re 3 recommenc
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